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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,

v.                                                    Case No. 1:19-CR-233

LUIS SUYAS-RAMOS,                                     Hon. Janet T. Neff
a/k/a CATARINO ANDRES
BERNABE-BERNABE

               Defendant.

                                              /


                            REPORT AND RECOMMENDATION

               Pursuant to W.D. Mich. LCrR 11.1 and upon a request of the district court, I

conducted a felony plea hearing in this matter on May 25, 2021, after receiving the written consent

of the defendant, the defendant's attorney, and the attorney for the government. These consents were

also placed on the record in open court.

               Defendant is charged in a single-count Indictment with being illegally in this country

after having been previously removed. On the basis of this record, I found that defendant was

competent to enter a plea of guilty and that his plea was knowledgeable and voluntary with a full

understanding of each of the rights waived by the defendant, that the defendant fully understood the

nature of the charge and the consequences of his plea, and that the defendant's plea had a sufficient

basis in fact which contained all of the elements of the offense charged.

               There was no written plea agreement in this case.


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               I accepted the plea of guilty, subject to final acceptance of the plea by the District

Judge. I ordered the preparation of a presentence investigation report.

                                        Recommendation

               Based upon the foregoing, I respectfully recommend that the defendant's plea of

guilty to the sole count of the Indictment be accepted, and that the court adjudicate the defendant

guilty of that charge.



Dated: May 25, 2021                           /s/ Ray Kent
                                              RAY KENT
                                              United States Magistrate Judge




                                      NOTICE TO PARTIES

                You have the right to de novo review by the district judge of the foregoing findings.
Any application for review must be in writing, must specify the portions of the findings or
proceedings objected to, and must be filed and served no later than fourteen (l4) days after the plea
hearing. See W.D. Mich. LCrR 11.1(b). A failure to file timely objections may result in the waiver
of any further right to seek appellate review of the plea-taking procedure. See Thomas v. Arn, 474
U.S. 140 (1985); Neuman v. Rivers, 125 F.3d 315, 322-23 (6th Cir.), cert. denied, 522 U.S. 1030
(1997); United States v. Walters, 638 F.2d 947 (6th Cir. 1981).




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